 

CaS€ 1-11-42921-060 DOC 80 Filed 08/20/15 Entered 08/20/15 15217244

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UNITED STATES BANKRUPTCY COURT
EASTERN DISTRICT OF NEW YORK

 

 

In re: '.CaseNo. \l»-L\- }Q~| §" 31 rt

.DO\\}`\A Aeyz Chapter: q_ §

Debtor(s)

 

X

APPLICATION IN SUPPORT OF
ORDER TO SHOW CAUSE

To the Hon. _:S_U\Ag€, QG\Y\Q E’ CY"~_{§Bankruptcy J'udge;

I E SA/\n€,Y i-'\Q,Y'Z. ,Movant herein, make this application in support

of my Order to Show Cause to seek entry of an Order to:
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ln support of the relief requested, l hereby allege as follows
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\1€€01\»\5€ \¢o_)e mm -W\e case \>.»w\\\ \o@ verq dam/mama jo ug

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40 aba 63`\~1€“ *\~*L C\/\O~'\C€ eeo \Oro~/e m\\ w Covrec& §fac+; ey¢hemj€_

\l\l €/ C\$ V_ WHEREFORE, Movant prays for the entry of an Order to Show Cause granting the relief

requested. and un ~L¢. l

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(Signature ofmovant) - -|-0 (OQ
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RETURN DATE:
UNITED STATES BANKRUPTCY COURT
EASTERN DISTRICT OF NEW YORK
____ X §
In re: ' - Case No. '
Do\\)\é \F\sz \\-U<SLQQI
Chapter: z
Debtor(s)
x
ORDER TO SHOW CAUSE
Upon the annexed application of Movant, seeking entry of
an Order to '
, it is
ORDERED that show cause at o’clock
on the date of or as soon thereafter as Movant may be heard before the
Honorable' Bankruptcy Judge in Courtroom ` at United
States Banl<ruptcy Court located at , Why this Court

 

should not enter an Order to

 

 

ORDERED that service of this Order to ShoW Cause together With the application be

 

 

 

served on or before the end of the business day on , upon -
, and
upon the Trustee at and United

 

States Trustee.

ORDERED that objections, if any, to the relief requested shall be made in Writing, shall
set forth With particularity, the grounds for such objection and shall be filed With the Clerl< of the

Court along With an extra copy marked “Charnbers Copy,” Trustee, United States Trustee, and
the Movant on or before ; and it is further

ORDERED that the hearing scheduled herein may be adjourned by the Court, from_time
to time, Without further notice_other than announcement of the adjourned hearing date in open

court.

Dated:

 

United States Banl<ruptcy Judge

